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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

WENDELL SHANE MACKEY,

      Plaintiff,                                Case No: 17-12359
                                                Judge Bernard A. Friedman
v.                                              Magistrate David R. Grand

JAMES MICHAEL BERRYMAN,
Mayor of the City of Adrian, Michigan;
MARGARET M.S. NOE,
Judge of the Lenawee County Circuit Court,

      Defendants.

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     JOINT DISCOVERY PLAN PURSUANT TO FED. R. CIV. P. 26(F)

      The parties, through their respective counsel, submit the following joint

discovery plan pursuant to Fed. R. Civ. P. 26(f) and the courts order.
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  1. Plaintiff Claims:

     This action involves the violations of Plaintiff’s First and Fourteenth

     Amendment rights to report news, to express political ideas, and to

     express criticism of public officials. This action also involves a prior

     restraint of core political speech. Plaintiff criticized the Defendant

     Mayor Berryman by using First Amendment protected political speech

     at the local City Commission meetings and Defendant Berryman then

     requested an Ex Parte personal protection order which was granted by

     Defendant Noe to silence the criticism. The petition was not plead in

     accordance with the mandatory pleading specificity requirements.

     Plaintiff claims that Defendant Noe issued the Personal Protection

     Order either without reading the petition or without requiring that the

     petition comply with mandatory specificity requirements. These acts by

     Defendants have violated Plaintiff’s Civil Rights as well as other state

     law claims giving rise to damages and a request for injunctive relief.

     Defendant James Michael Berryman’s Claim:

     Simply put, Defendant Berryman denies that he breached the

     appropriate standard of legal care and denies any wrongdoing arising

     out of the incident at issue. Defendant further states that he was

     guided by and strictly observed all of his legal duties imposed by



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     operation of law and otherwise and that all of his actions were careful,

     prudent, proper and lawful.

     Defendant Margaret M.S. Noe’s Claim:

      The only item Judge Noe had with respect to this case was to read

      the petition that was filed by Mayor Berryman and issue an order

      pursuant to state statute. Before a hearing was held on Plaintiff’s

      motion to dissolve the PPO, she was served with this lawsuit and

      therefore recused herself from hearing the matter. Judge Noe is

      entitled to absolute judicial immunity.

  2. Subject Matter Jurisdiction: The Court has subject matter jurisdiction

     pursuant to 28 U.S.C §1331 and §1343, as a federal question is

     involved. The Court has supplemental jurisdiction over Plaintiff’s state

     law claims pursuant to 28 U.S.C. §1367(a).

  3. Relationship to Other Cases:         James    Berryman      vs     Wendell

     Shane Mackey, 17-44270-PH, Lenawee County Circuit Court Case,

     being heard and argued in the Washtenaw County Circuit Court by

     Hon. Patrick J. Conlin, Jr. Currently pending is the Respondent’s

     Motion to Set Aside the Ex Parte Personal Protection Order.

  4. Initial Disclosures: The parties believe that the presumptive time

     limitations for submitting initial disclosures under Fed. R. Civ. P. 26(a)



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     are appropriate. The parties agree to serve their initial disclosures

     under Fed. R. Civ. P. 26(a) on or before November 1, 2017.

  5. Discovery: Discovery is needed on all claims and defenses. Discovery

     should not be conducted in phases or limited beyond the presumptive

     limitations set-forth in the Federal Rules of Civil Procedure. The parties

     believe that all pretrial discovery can be completed within seven (7)

     months.

  6. Anticipated Amendments to the Pleadings: To the extent that any

     other amendments are deemed appropriate, the parties will file any

     such motions requesting leave to amend by November 1, 2017.

  7. Plaintiff’s Anticipated Expert Testimony: At this time, Plaintiff’s

     experts may include:

  8. Defendants’ Anticipated Expert Testimony:                 At this time,

     Defendants’ experts may include: (1) an economic expert.

  9. Anticipated Motion Practice: Plaintiff anticipates to file a dispositive

     Motion at the conclusion of the State case involving Plaintiff’s motion

     to set aside the PPO. Dispositive motions may be filed by the parties

     at the close of discovery.

  10.      Use    of   Case   Evaluation     and/or    Alternative     Dispute

     Resolution: Plaintiff does request that Case Evaluation be ordered in



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     this matter. Defendants do not feel this case is appropriate for case

     evaluation but do request that a settlement conference be set with a

     Magistrate Judge at the conclusion of discovery.

  11.      Disclosure     or   Discovery     of   Electronically      Stored

     Information: The parties agree that they will preserve all relevant

     electronically stored information, including all metadata associated

     therewith, within their custody and/or control in accordance with the

     applicable court rules and governing case law.

     The parties further agree to produce for inspection and/or copying any

     relevant, non-privileged information that is electronically stored in

     response to a discovery request or if required by mandatory disclosure.

     The information may be produced in either written or electronic format,

     at the discretion of the disclosing party, with exception of video and

     audio recording, which shall be produced for inspection, and/or

     copying in an electronic format.

  12.      Assertion of Claims of Privilege or Work-Product Immunity

     After Production: While the parties do not anticipate any substantial

     issues at this time, they agree that upon written notification by the

     producing party to the receiving party, the receiving party shall

     segregate any item subject to a claim of privilege or work-product. The



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        producing party will have an opportunity to request a retraction or

        provide other instructions as to the disposition of the items, which the

        receiving party will make reasonable efforts to comply therewith.


Respectfully submitted,

 __________________________                 ____________________________
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Dated: September 21, 2017
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